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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                           )
PEOPLE FOR THE ETHICAL TREATMENT )
OF ANIMALS, INC.,                          )
                                           )
                                           )
                           Plaintiff,      )           Civil Action No. 4:18cv-01547
                                           )
       v.                                  )
                                           )
MICHAEL K. YOUNG, in his official capacity )
as President of Texas A&M University,      )
                                           )
                           Defendant.      )
                                           )
                                           )

      JOINT MOTION OF THE PARTIES TO STAY PRE-TRIAL CONFERENCE

       The parties hereby jointly move this Court to stay the pre-trial conference set for September

10, 2018. The parties believe such action would further the interest of judicial economy given that

a dispositive motion is pending but will not be fully briefed by that date. Further, Plaintiff’s

attorney-charge has indicated that he is unavailable on that date due to religious observance.

       As grounds for this Motion, the parties state as follows:

       1.      On May 14, 2018, Plaintiff filed its Original Complaint. (ECF No. 1)

       2.      On May 15, 2018, the Court, through Judge Lake, issued its Order for Conference

and Disclosure of Interested Parties, setting said conference for September 28, 2018. (ECF No. 8)

       3.      On July 23, 2018, Defendant filed a Motion to Dismiss pursuant to Federal Rule of

Civil Procedure 12(b)(6). (ECF No. 16)

       4.      On August 2, 2018, Plaintiff filed its First Amended Complaint. (ECF No. 17)

       5.      On August 16, 2018, Defendant filed a Motion to Dismiss Plaintiff’s First Amended

Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). (ECF No. 20)




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       6.      On August 22, 2018, the parties jointly moved the Court to (1) extend time for the

remaining briefing on the Motion to Dismiss, and (2) stay the pre-trial conference the Court had

set for September 28, 2017 until at least 30 days after disposition of the pending Motion to Dismiss

(unless that disposition dismisses this case entirely). (ECF No. 21). The parties noted that the

pending Motion to Dismiss is potentially dispositive of the entire case and will otherwise likely

affect management of the case going forward, including discovery. Thus, the parties submitted that

it is in the interest of judicial efficiency and economy to stay the conference and associated

deadlines pending the Court’s disposition of that Motion. The parties requested 30 days to prepare

for the conference once that Motion is disposed of to allow time to meet and confer pursuant to

Rule 26(f), and file the joint discovery/case management plan required thereunder.

       7.      On August 23, 2018, Judge Lake granted the parties’ joint motion, setting the

following calendar:

               Plaintiff’s Response to Motion to Dismiss: September 17, 2018

               Defendant’s Reply in Support of Motion to Dismiss: October 1, 2018.

       Judge Lake also granted the parties’ request to stay the pre-trial conference until 30 days

after disposition of the pending Motion to Dismiss, unless such disposition resolves this case

entirely. (ECF No. 23)

       8.      On August 24, 2018, Judge Lake recused himself from the case. The Recusal Order

indicated that “Deadlines in the scheduling orders remain in effect.” (ECF No. 24)

       9.      On August 24, 2018, the case was reassigned. (ECF No. 25)

       10.     On August 28, 2018, this Court issued an Order Setting Conference, setting a pre-

trial conference for September 10, 2018 at 10:30 AM. (ECF No. 26)

       11.     The parties request that the pre-trial conference set by this Court be stayed until

after disposition of the pending Motion to Dismiss. As noted above, that Motion is potentially




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dispositive and will otherwise likely affect the parties’ management of the case going forward,

including discovery. It is thus in the interest of judicial efficiency and economy to stay the

conference and associated deadlines pending the Court’s disposition of Defendant’s Pending

Motion to Dismiss.

       12.     In addition, Plaintiff’s lead attorney, David Greene of Electronic Frontier

Foundation has indicated that he is unavailable September 10, 2018, because of religious

observance.

       13.     Neither party will be prejudiced by the adjustments to the calendar requested here.

       14.     The parties respectfully request entry of the proposed order attached to effect the

relief sought in this motion.

DATED: August __, 2018

                                                 Respectfully submitted:

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